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USDCFLSD 2458(Rev.09/08)-JudgmentinaCriminalCzse



                                         U nited States D istrict C ourt
                                                   Southern DistrictofFlorida
                                                               M IAM IDW ISION
UNITED STATES O F A M ERICA                                             2NDAM ENDED JIJDG M ENT IN A CRIM INAL
                                                                        CASE

V.
                                                                        CaseNumber-1:10-20767-CR-K1NG(s)-003

 JUDITH NEGRO N
                                                                        USM N umber'
                                                                                   .95719-004
                                                                        Counse!ForDefendant:B/'I'
                                                                                                y Wax,Esq.
                                                                        CounselForTheUnitedStates;JenniferL.Saulino
                                                                        CourtReporter:LisaEdwards



 Thedefendantwasfound guiltyastoCountsOne,Six,Seven,Thirteen,Fourteen,FiReenthroughTwentp seven,Twentpeight,
 Twenty-nine,Thirtptwo,Thirtpfotm andThl
                                       'rty-seven oftheSuperseding Indictment.
 Thedefendantisadjudicatedguiltyofthefollowingoffenses:

         TITLE/SECTION                             NATURE OF
                                                    OFFENSE                  O FFENSE ENDED                           COUNT
            NUM BER
    18U.S.
         C.j1349                          Conspiracy tocommit                  October21,2010
                                          health carefraud
                                          Healthcarefraud                      February 20,2009
    18U.S.C.j1347
     18 U.S.C.5 1347                      Health carefraud                       M ay 22,2009
                                           Conspiracyto degaudthe               October21,2010                          13
     18U.S.C.j371
                                           United Statesandto receive
                                           andpayhealth care
                                           kickbacks
     18U.S.C,j1956(h)                      Conspiracyto commit                  October21,2010
                                           moneylaundering
                                           M oney laundering                     April13,2006
     18U.S.C.j1957
     18 U.S.C.j 1957                       M oney Iaundering                      M ay 30,2006

                                           M oney laundering                      M ay l4,2007
     18U.
        S.C.j1957
                                           M oney laundering                      July24,2007                           18
     18U.S.C.j1957
     18U.S.C.j 1957                        M oney laundering                      M arch 9,2009
                                           M oney laundering                      April10,2009                          20
     18U.S.C.j 1957
                                            M oney Iatmdering                     April24,2009
     18U.S.C.j1957
                                            M oney laundering                     April24,2009                          22
     18U.S.C.j 1957
                                            M oneylaundering                      April24,2009                          23
     18U.S.C.j 1957
                                            M oney laundering                     April24,2009                          24
     18U.S.C.j 1957
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                             M oney laundering                 April24,2009                     25
 18U.S.C.j1957
                             M oney laundering                 M ay 12,2009
 18U.S.C.j1957
                             M oney Iaundering                 M ay 15,2009                     27
  18U.S.C.j1957
                             M oney laundering                January 12,2007                   28
  18U.S.C.j
  1956(a)(1)(B)(I)
                             M oney Iaundering                 M ay l2,2009                      29
  18U.S.C.j
  1956(a)(1)(B)(I)
                         M oney laundering                     M ay28,2010                       32
  18U,S.C.j
  1956(a)(1)(B)(I)
  31U.S.C.j5324(a)(1)and Strucmringtoavoid                     March 23,2009
  (d)(20)                reportingrequirements
  3lU.S.C.j5324(a)(1)and     Structuringtoavoid                 M ay 15,2009                     34
  (d)(20)                    reportingrequirements
  31U.S.C.j5324(a)(1)and     Structuringtoavoid                 July 16,2010                     37
  (d)(20)                    reportingrequirements
 Thedefendantissentenced asprovidedinthefollowingpagesofthisjudgment. Thesentenceisimposed pursuantto the
 SentencingReform Actof1984,




 Itisordered thatthe defendantmustnotify theUnited Statesattorney forthisdistrictwithin 30 daysofany changeofname,
 residence,ormailingaddressuntila1lfmes,restitution,costsandspecialassessmentsimposedbythisjudgpncntarefullypaid.
 Iforderedtopayrestimtion,thedefendantmustnotifythecourtand UnitedStatesattorneyofany materialchangesineconomic
 circumstances.
                                                                 Dateoflmposition ofSentence:
                                                                 12/8/2011

                                                                                     .                '


                                                                                                      /
                                                                 M    ES LAW RENCE Km G
                                                                     itedStatesDistrictJudge    v,/
                                                                 January 11,2012
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USDCFLSD2458(Rev.09/08)-JudgmentinaCriminàCase                                                           Page:1of7


D EFENDANT:JUDITH NEGRON
CASENUMBER:1:10-20767-CR-KlNG(s)-003
                                                 AM ENDED IM PW SONM ENT
           Thedefendantisherebycommittedtothecustody oftheUnited StatesBureau ofPrisonstobeimprisoned foraterm
ofTHIRTY-FIVE (35)Yearstobeserved asfollows:
10 yearsasto Counts1,6 and 7,tobeserved consecutively with each other; 5yearsasto Count13 to
served beconsecutively to Counts1,6 and 7;10 yearsasto Counts15 through 27,33,34 and 37 to be
servedconcurrently with each otherand concurrently with Counts 1,6,7,13,14,28,29 and 32 ;and 20
yearsastoCounts14,28,29 and 32 to beserved concurrently with each otherand concurrentlywith 1,
6,7,13,15 through 27,33,34 and 37.

TheC ourthereby reeom m endsto theBureau ofPrisonsthatthedefendantbedesignated toa facility in South
Florida.

 The defendantisrem anded to the custody ofthe United StatesM arshal.




                                                         RETU RN

 lhaveexecutedthisjudgmentasfollows:




 Defendantdelivered on                                  to

 at                                                           ,withacertified copy ofthisjudgment.


                                                                             UNITED STATES G RSM L


                                                                     By:
                                                                                  Deputy U .S.M arshal
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D EFENDAN T:DEFEN DANT:JUDITH N EGRON
CASENUMBER:1:10-20767-CR-Km G(s)-003
                                                    SU PERV ISED R ELEASE

Uponreleasefrom imprisonment,the defendantshallbeon supervised releaseforaterm ofTHREE (3)Years.
Thedefendantmustreporttotheprobation ofticeinthedistrictto whichthedefendantisreleasedwithin 72 hoursofrelease
from thecustodyoftheBureau ofPrisons.

Thedefendantshallnotcommitanotherfederal,stateorIocalcrime.
Thedefendantshallnotunlawfully possessacontrolled substance.Thedefendantshallrefrainfrom any unlawfuluseofa
controlled substance,Thedefendantshallsubmittoonedrugtestwithin 15daysofreleasefrom imprisonmentand atleast
twoperiodicdl'ugteststhereaher,asdeterminedbythecourt.
           Thedefendantshallnotpossessafirearm,ammunition.destructivedevke,orany otherdangerousweapon.

           ThedefendantshallcooperateinthecolleetionofDNA asdirected bytheprobationofficer.


        lfthisjudgmentimposesafineorarestitution,itisaconditionofsupervisedreleasethatthedefendantpayin
accordancewiththeScheduleofPaymentssheetofthisjudgment.
          Thedefendantmustcomply withthestandardconditionsthathavebeen adopted by thiscourtaswellasany
 additionalconditionson theattachedpage.

                                        STANDARD CONDITIONS O F SUPERVISION

            n edefendantshallnotleavethejudicialdistrid withoutthepermissionofthecourtorprobationofficer;
           Thedefendantshallreporttotheprobation officerandshallsubmitatruthfuland completewritten reportwithinthefirstfivedaysof
           eachmonth;
           n edefendantshallanswertruthfullyallinquiriesbytheprobation officerand follow theinstructionsoftheprobationofticer;
           Thedefendantshallsupporthisorherdependentsandmeetotherfamily responsibilities;
           n edefendantshallworkregularlyatalawfuloccupation,unlessexcusedbytheprobation oftkerforschooling,training.orother
           acctptablereasons;
            n edefendantshallnotifytheprobationoft
                                                 iceratIeastten(10)dayspriortoanychangeinresidenceoremployment'
                                                                                                              ,
            n edefendantshallrefrain from theexcessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradministerany
            controlled substanceoranyparaphernaliarelatedto anycontrolled substances,exccptasprescribedbyaphysician;
            n edefendantshallnotfrequentplaceswherecontrolledsubstancesare illegallysold,used,distributed,oradministtred;
            n edefendantshallnotassociatewithanypersonsengaged incriminalactivity and shallnotassociatewithanypersonconvictedofa
            felony,unlessgrantedpcrmissionto doso bytheprobationofficer;
 I0.        n edefendantshal!permitaprobationofficertovisithim orheratanytimeathomeorelsewhereand shallpermitcontiscationofany
            contrabandobserved inplain view by theprobation officer;
            n edefendantshallnotifytheprobationofficerwithinseventptwo(72)hoursofbeingarrestedorquestionedbya1aw enforçement
            ofticer;
 12,        n edefendantshallnotenterintoany agreementto actasaninfonneroraspecialagentofa1aw enforcementagencywithoutthe
            permissionofthecourqand
            Asdirected bytheprobationofficer,thedefendantshallnotify thirdpartiesofrisksthatmay beoccasionedbythedefendant'scriminal
            recordorpersonalhistoryorcharacteristicsand shallpermittheprobation ofticerto makesuchnotiticationsand to contirm the
            defendant'scompliancewithsuchnotificationrequirement.
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                                                                                  7
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DEFENDANT:DEFENDANT:JUDITH NEGRON
CASENUMBER;1:10-20767-CR-Km G(s)-003
                              SPECIAL CONDITIO NS OF SUPERVISION

        Thedefendantshallalsocomply withthefollowing additionalconditionsofsupervisedrelease:
 FinancialDisclosureRequirement-Thedefendantshallprovidecompleteaccessto fmancialinfonnation,including
 disclosureofal1businessandpersonalfinances,totheU.S.ProbationOftker.
 Health CareBusinessRestriction -Thedefendantshallnotown,directlyorindirectly,orbeemployed,directly or
 indirectly,inany health carebusinessorservice,whichsubmitsclaimstoany privateorgovernmentinsurancecompany,
 withouttheCourt'sapproval.
 No New DebtRestriction -Thedefendantshallnotapply for,solicitorincurany furtherdebt,included butnotlimited to
 loans,linesofcreditorcreditcard charges,eitherasaprincipalorcosigner,asan individualorthroughany corporateentity,
 withoutfirstobtainingpennission h'om theUnited StatesProbationOfticer.
 Self-EmploymentRestriction -Thedefendantshallobtainpriorwritten approvalfrom theCourtbefore entering intoany
 self-em ployment.
Case 1:10-cr-20767-JLK Document 418 Entered on FLSD Docket 01/11/2012 Page 6 of 7
USDCFLSD2458(Rev.09/08)-Iudgmentina.CriminalCase                                                                          P:se6of7


D EFENDANT:DEFEN DANT:JUDITH N EGRON
CASE NUMBER:l:10-20767-CR-KlNG(s)-003
                                2M7A M EN D ED C RIM INA L M O N ETA R Y PENA LTIE S


       Thedefendantmustpay thetotalcriminalmonetary penaltiesunderthe scheduleofpaymentson the Scheduleof
Paymentssheet.

              TotalAssessm ent                                     TotalFine                      TotalRestitution

                   $2,400.00                                                                       $87,533,863.46



Restitution with Imprisonment-
Itisfurtherordered thatthedefendantshallpay restimtion intheamountof$ 87,533,863.46. Duringtheperiodof
incarceration,paymentshallbemadeasfollows:(l)ifthedefendantearnswagesinaFederalPrisonIndustriesILrhIICORI
job,thenthedefendantmustpay50% ofwagesearnedtowardthefinancialobligationsimposedbythisJudgmentina
CriminalCase;(2)ifthedefendantdoesnotworkinalJNlcoRjob,thenthedefendantmustpay$25.00perquartertoward
thefinancialobligationsimposed inthisorder,
Upon releaseofincarceration,thedefendantshallpayrestitutionattherateof10% ofmonthly grossearnings,untilsuch time
asthecourtmayalterthatpaymentscheduleintheinterestsofjustice.TheU.S.BlzreauofPrisons,U.S.ProbationOftkeand
U,S.Attorney'sOfficeshallmonitorthepaymentofrestitution and reporttothecourtany materialchangeinthedefendant's
ability to pay.Thesepaymentsdo notprecludethegovermnentfrom using otherassetsorincome ofthedefendanttosatisfy
therestimtionobligations.

           Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlisted
below .

           lfthedefendantmakesapartialpayment,eachpayeeshallreceiveanapproximatelyproportioned payment,unless
specifiedotherwiseinthepriorityorderorpercentagepaymentcolunm below.However,pursuantto18U.S.C.j366441),all
nonfederalvictimsmustbepaid beforetheUnited Statesispaid.

                                                                                                         PriorityO rder
                                                   TotalAm ount                 Am ountof                orPercentage
         Nam eofPavee                                 ofLoss               Restitution O rdered           ofPavment
 CLERK 0F COU RTS                                  SAmountofLoss               $87,533,863.
                                                                                          46
 FinancialSection
 400N .M iamiAvenue
 Room 8N 09
 M iami,Florida33128

#FindingsforthetotalamountofIossesarerequired underChapters109A,ll0,1IOA,and 113A ofTitl
                                                                                       e 18,Uni
                                                                                              tedStatesCode,foroffensescommitledon
oraherSeptemberl3,1994,butbcforeApril23,1996.
Case 1:10-cr-20767-JLK Document 418 Entered on FLSD Docket 01/11/2012 Page 7 of 7
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 DEFENDANT:DEFENDANT:JUDITH NEGRON
 CASENUMBER:1:10-20767-CR-Km G(s)-003
                                                     SCHEDULE OF PAYM ENTS
Havingassessed thedefendant'sabilitytopay, paymentofthetotalcriminalmonetarypenaltiesaredueasfollows:

            A.Lump sum paymentof$2,400.00 dueimmediately,balancedue


Unlessthecourthasexpresslyordered otherwise, ifthisjudgmentimposesimprisonment,paymentofcriminalmonetary
penaltiesisdueduring imprisonment.Allcriminalmonetarypenalties, exceptthosepaymentsmadethrough the Federal
Bureau ofPrisons'ImnateFinancialResponsibilityProp am ,aremadetotheclerk ofthe court.

Thedefendantshallreceivecreditforallpaymentspreviously madetoward any criminalmonetarypenaltiesimposed.
Tlleassessm entand restitution ispayableto theC LERK ,UNITED STATES COU RTS and isto beaddressed to:

            U .S.C LERK 'S O FFICE
            ATTN:FINANCIAL SECTION
            400 NORTH M IAM IAVENUE,ROOM 8N09
            M IAM I.FLO R ID A 33128-7716

Theassessm entispayableim m ediately. TheU.S.Bureau ofPrisons,U.S.Probation Officeand theU.S.Attorney's
O fficeare responsiblefortheenforeem entofthisorder.



           Jointand Several

DefendantandCo-DefendantNamesandCaseNumbers, TotalAmount,Jointand ScveralAmount,and corresponding
Payee.
Co-defendantsinthiscase:M arianellaValara;Lawrence S.Duran;M argaritaAcevedo;M edlink ProfessionalM anagement
Group,lnc.,American TherapeuticComoration;andtheco-defendantsincaseno. 11-20IOO-CR-SEITZ

           Thedefendantshallforfeitthedefendant'sinterestin thefollowingproperty totheUnited States:

                      Seeattached forfeitureorder

         Thedefendant'sright,titleand interesttotheproperty identifiedinthepreliminary orderofforfeimre, which has
been enteredbytheCourtandisincom oratedby referenceherein, ishereby forfeited.

 Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)fine
principal,(5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostofprosecutionandcourt
costs.
